                     UNITED STATES DISTRICT COURT
              FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                         STATESVILLE DIVISION

  UNITED STATES OF AMERICA     )        DOCKET NO. 5:12-CR-54
                               )
        vs.                    )
                               )
  LUIS ENRIQUE GARCIA,         )
                               )
             Defendant.        )
  _____________________________)


                    TRANSCRIPT OF INITIAL APPEARANCE
                  BEFORE THE HONORABLE DAVID S. CAYER
                     UNITED STATES MAGISTRATE JUDGE
                           DECEMBER 20, 2012



  APPEARANCES:
  On Behalf of the Government:
        ELIZABETH GREENE, ESQ.
        United States Attorney's Office
        227 West Trade Street, Suite 1700
        Charlotte, North Carolina
  On Behalf of the Defendant:
        DOUGLAS EDWARDS ROBERTS, ESQ.
        Federal Public Defender's Office
        129 West Trade Street, Suite 300
        Charlotte, North Carolina


  Proceedings digitally recorded and transcribed by:

                       Cheryl A. Nuccio, RMR-CRR
                        Official Court Reporter
                      United States District Court
                       Charlotte, North Carolina




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1                               P R O C E E D I N G S
2                  (Transcript of proceedings digitally recorded on
3      December 20, 2012.)
4                  (Interpreter was sworn.)
5                  THE COURT:    United States versus Luis Garcia.
6                  Are you ready to proceed, Mr. Roberts?
7                  MR. ROBERTS:    We are, Your Honor.
8                  THE COURT:    Stand up, sir.
9                  Sir, this is your first appearance in United States
10     district court.     The attorney standing in with you is
11     Mr. Roberts with the federal defender's office.          He's here to
12     assist you during the hearing today.
13                 You do have a right to remain silent and anything
14     you say may be used against you.       Do you understand that
15     right?
16                 THE DEFENDANT (Interpreter):      Yes.
17                 THE COURT:    You have been charged in an indictment.
18     I'm going to summarize the charges and make sure you
19     understand the penalty if you're convicted on these charges.
20                 The first charge is that from 2008 to on or about
21     December 7, 2012, in Watauga County, within this district,
22     that you conspired with others to distribute and possess with
23     intent to distribute at least 500 grams of methamphetamine.
24     Do you understand what I'm saying the charge is, sir?
25                 THE DEFENDANT (Interpreter):      Yes.




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1                  THE COURT:    What is the penalty there, Ms. Greene?
2                  MS. GREENE:    Your Honor, the penalty for that
3      particular count is a minimum of ten years up to life in
4      prison, a $10 million fine, and at least five years of
5      supervised release.
6                  THE COURT:    Do you understand what the U.S. attorney
7      said the maximum and minimum penalty is there?
8                  THE DEFENDANT (Interpreter):      Yes.
9                  THE COURT:    The second charge is that on or about
10     December 7, 2012, in Watauga County, within this district,
11     that you knowingly and intentionally possessed with intent to
12     distribute at least 50 grams of methamphetamine.          Do you
13     understand that charge, sir?
14                 THE DEFENDANT (Interpreter):      Yes.
15                 THE COURT:    And the penalty there, Ms. Greene, is?
16                 MS. GREENE:    Your Honor, for that the minimum term
17     of imprisonment is 5 years and the maximum would be 40 years.
18     It's a $5 million fine and a term of supervised release.
19                 THE COURT:    Do you understand the minimum and
20     maximum penalty there, sir?
21                 THE DEFENDANT (Interpreter):      Yes.
22                 THE COURT:    There's also a forfeiture provision
23     where the government is seeking to forfeit $80,000 that were
24     seized.
25                 You have a right to be represented by a lawyer.            And




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1      if you can't afford a lawyer, I'll consider appointing a
2      lawyer for you.     Will you be able to hire a lawyer, sir?
3                  THE DEFENDANT (Interpreter):      I don't have any
4      money.
5                  THE COURT:    Has he filled out an affidavit,
6      Mr. Roberts?
7                  MR. ROBERTS:    He has, Your Honor.
8                  THE COURT:    All right.     You may hand that up.
9                  (Pause.)
10                 THE COURT:    I'll appoint counsel, sir.      The federal
11     defender will assign an attorney to your case.
12                 Is the government moving for detention?
13                 MS. GREENE:    The government is moving for detention.
14                 THE COURT:    Sir, they're asking that you be held
15     without bond so I'll set a court date for a bond hearing where
16     the court will determine whether you're held without bond or
17     released on conditions.      Your appointed attorney will be with
18     you at that time.
19                 What's his court date, Madam Clerk?
20                 THE CLERK:    Thursday, the 27th, at 10:00 a.m.
21                 THE COURT:    Next Thursday, sir, will be your bond
22     hearing.    Your appointed attorney will be in touch with you.
23                 (End of proceedings.)
24                                      *****
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1      UNITED STATES DISTRICT COURT
2      WESTERN DISTRICT OF NORTH CAROLINA
3      CERTIFICATE OF REPORTER
4
5
6                  I, Cheryl A. Nuccio, Federal Official Realtime Court
7      Reporter, in and for the United States District Court for the
8      Western District of North Carolina, do hereby certify that
9      pursuant to Section 753, Title 28, United States Code, that
10     the foregoing is a true and correct transcript of the
11     digitally-recorded proceedings, transcribed to the best of my
12     ability, held in the above-entitled matter and that the
13     transcript page format is in conformance with the regulations
14     of the Judicial Conference of the United States.
15
16                 Dated this 26th day of January 2014.
17
18                                  s/Cheryl A. Nuccio
                                    _________________________
19                                  Cheryl A. Nuccio, RMR-CRR
                                    Official Court Reporter
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